                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :     CRIM. NO. 3:CR-19-09
                                         :
                 v.                      :
                                         :     (JUDGE MANNION)
BRUCE EVANS, SR. and                     :
BRUCE EVANS, JR.,                        :
                  Defendants             :


        BRIEF IN SUPPORT OF MOTION TO CORRECT/AMEND
                 THE SUPERSEDING INDICTMENT

        NOW, the United States of America, by its undersigned counsel,

and filed the within brief in support of the Government’s Motion to

Correct/Amend the Superseding Indictment filed in the above captioned

case.

        As set forth in the Government’s Motion to Correct/Amend the

Superseding Indictment, on May 28, 2020, a federal grand jury

returned a Superseding Indictment charging Bruce Evans, Sr. and

Bruce Evans, Jr. with various violations of the Clean Water Act (CWA),

and charging Bruce Evans, Sr. with wire fraud violations and

obstruction of correspondence.    (Doc. 62).

        Following the filing of this Superseding Indictment, the United


                                     1
States realized that certain inadvertent typographical errors regarding

citation to NPDES Permit sections occurred.     Specifically, in Counts 2

and 3, the Roman numeral “I” was omitted when citing to NPDES

Permit Sections C.1 and D.2. Count 2 should read Section I.C.1, and

Count 3 should read Section I.D.2. Additionally, the Permit citation in

Count 5 should read Part A, Section I, rather than Section I.C.1; and

the Permit citation in Counts 16 through 24 should read Part A, Section

III.C.3, rather than Part B, Section I.3.c.

       It is again noted that the errors are typographical errors and do

not affect the substance of the stated charges pending against the

defendants. The Clean Water Act statutory citations, the language of

the statute, and the expressed language of the NPDES Permit violation,

is written accurately in each Count of the Superseding Indictment

sought to be corrected/amended. It is further noted that the proposed

corrections do not broaden the Superseding Indictment, nor in any way

alter the alleged conduct stated in the violations of the Clean Water

Act.

       It is well established that this Court may order

corrections/amendments of a charging document that relate merely to

                                     2
matters of form. Russell v. United States, 369 U.S. 749, 770 (1962).

Thus, the Court may allow amendments to correct misnomers or

typographical errors. See e.g., United States v. Perez, 776 F.2d 797

(9th Cir. 1985) (correction of defendant=s name); United States v. Lake,

985 F.2d 265, 271 (6th Cir. 1993) (no impermissible amendment if

merely correcting typographical error); United States v. McGrath, 558

F.2d 1102, 1105 (2d Cir. 1977) (misnomer in name of victim); United

States v. Denny, 165 F.2d 668 (7th Cir.) (misspelling of defendant=s

name not fatal to indictment); United States v. Owens, 334 F. Supp.

1030 (D. Minn. 1971); United States v. Williams, No. CRIM. A. 11-223-

1, 2012 WL 5881845, at *2 (E.D. Pa. Nov. 21, 2012) (citing United

States v. Miller, 116 F.3d 641, 669–671 (2d Cir.1997) (correction of

merely technical errors, such as clerical or typographical mistakes, is

allowed during trial where such correction does not alter “essential

substance” of charging terms; no impermissible amendment of

indictment by inserting defendant’s name into count after inadvertent

omission); United States v. Neil, 166 F.3d 943, 947–948 (9th Cir.1999)

(district court did not err in granting a motion to amend the indictment,

during jury deliberations, where one bank robbery count referred to the

                                    3
wrong bank); United States v. Lim, 984 F.2d 331, 337 (9th Cir.1993)

(district court did not err in amending typo in statute citation); United

States v. Kegler, 724 F.2d 190, 195 (district court did not err in

amending the indictment, during trial, to correct the name of payee on a

check); United States v. McGrath, 558 F.2d 1102, 1105 (2d Cir.1977)

(district court would have been empowered, during trial, to amend the

indictment to correct certain references to the Long Island State Parks

Commission as the “Long Island State Parks and Recreation

Commission”)); United States v. Nicklas, 713 F.3d 435, 440 (8th Cir.

2013) (no impermissible amendment when court allowed Government’s

motion to strike “willfully” from indictment because such statement of

intent was surplusage); United States v. Brooks, 438 F.3d 1231, 1237

(10th Cir. 2006) ( no impermissible amendment when court struck as

surplusage “during and in relation to” from indictment); United States

v. Allmendinger, 706 F.3d 330, 340 (4th Cir. 2013) (no impermissible

amendment when Government narrowed scope of conspiracy nor

through striking some paragraphs from indictment and sending

indictment back to jury); United States v. Phillips, 745 F.3d 829, 832-33

(7th Cir. 2014) (no impermissible amendment when technical details

                                     4
about mechanics and depth of conspiracy were added to indictment). 1

     In this case, the corrections/amendments requested by the United

States are purely a matter of form and do not affect the substance of the

charges as expressed verbally with specific language pending against

the defendants. Rather, the proposed changes simply correct

inadvertent typographical errors to citations to the NPDES Permit and

not the federal statutes charged. The language expressed in each

Count of the Superseding Indictment has placed the defendants on

notice of what unlawful acts they are alleged to have committed and the



     1   See also, United States v. Rattler, 237 F. App'x 794, 796 (4th
Cir. 2007)(indictment was sufficient despite citation to wrong
subsection); United States v. Boyd, 447 F. App'x 684, 688 (6th Cir. 2011)
(scrivener's error that mistakenly did not limit incoming wire transfers
to those coming from Michigan did not result in constructive
amendment of wire fraud indictment); United States v. McNett, 74 F.3d
1242, *1 (table) (7th Cir. 1996) (amendments of technical, clerical, or
other typographical errors “are generally benign” if they “would not
alter the essential substance of the charged offense); United States v.
Cina, 699 F.2d 853, 857 (7th Cir. 1983) (trial court properly found no
prejudice to defendant sufficient to bar amendment to indictment to
expand period of conspiracy by two years); United States v. Smith, 993
F.2d 1550, *3-4 (7th Cir. 1993) (unpublished) (An indictment may be
modified, either physically or constructively (because the evidence or
the jury instructions effectively “amend” it) to correct for a
typographical or clerical error or a misnomer.); see also Fed. R. Crim. P.
36.

                                    5
precise sections of the federal statute they are alleged to have violated,

that is, 33 U.S.C. Sections 1311, 1342 and 1319(c)(2)(A).

     WHEREFORE, the United States requests that the Court grant

its Motion to Correct/Amend the Superseding Indictment and enter an

order correcting and amending the Superseding Indictment to reflect

the changes as noted above. Specifically, amend the citations made to

the NPDES Permit in Counts 2, 3, 5 and 16 through 24 to reflect the

correct NPDES Permit Sections. The errors are matters of form and do

not affect the substance of the charges pending against the defendants.


                                  Respectfully submitted,

                                  BRUCE D. BRANDLER
                                  Acting United States Attorney

                           By:    /s/ Michelle L. Olshefski
                                  MICHELLE L. OLSHEFSKI
                                  Assistant U.S. Attorney

                                  /s/ W. Martin Harrell
                                  W. MARTIN HARRELL
                                  Special Assistant U.S. Attorney

                                  /s/ Patricia C. Miller
                                  PATRICIA C. MILLER
                                  Special Assistant U.S. Attorney



                                     6
                     CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on the 7th day of November,

2021, I caused the foregoing “Government’s Brief in Support of Motion

to Amend the Superseding Indictment” to be served upon Patrick

Casey, Esquire, counsel of record for Evans Sr., and Bernard Brown,

Esquire, counsel of record for Evans Jr. and that both Attorney Casey

and Attorney Brown are filing users under the ECF system.


                                 /s/ Michelle Olshefski
                                 MICHELLE OLSHEFSKI
                                 Assistant United States Attorney




                                   7
